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14                                UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN FRANCISCO DIVISION

17
   IN RE: CATHODE RAY TUBE (CRT)                       Master File No. 3:07-md-05944-sc (N.D.Cal)
18 ANTITRUST LITIGATION                                MDL No. 1917

19 This Document Related to:                           DEFENDANTS’ REPLY IN SUPPORT OF
   Individual Case No. 3:13-cv-2171 (SC)               JOINT MOTION FOR PARTIAL
20 Dell Inc.; Dell Products L.P., v. Philips           SUMMARY JUDGMENT AGAINST
   Electronics North America Corporation et al.,       DELL AND SHARP PLAINTIFFS ON
21                                                     STATUTE OF LIMITATIONS GROUNDS
   Individual Case No. 3:13-cv-01173-SC,               – Redacted
22 Sharp Electronics Corp., et al. v. Hitachi, Ltd.,
   et al.,                                             Judge: Hon. Samuel Conti
23                                                     Date: February 6, 2015
   Individual Case No. 3:13-cv-2776 SC,                Time: 10:00 a.m.
24 Sharp Electronics Corp., et al. v. Koninklijke      Crtrm.: 1, 17th Floor
   Philips Elecs., N.V. et al.,
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                                                                 3:07-cv-05944-SC; MDL No. 1917
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                     SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS
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 1 Woodson v. Am. Med. Ass’n,
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 1 I.       INTRODUCTION
 2                 The evidence outlined in Defendants’ opening brief demonstrates that long before

 3 November 27, 2003, Dell and Sharp knew or should have known the facts they allege in support of

 4 their current claims.

 5                 From 1998 to 2003, dozens of internal Dell emails and documents reflect Dell’s

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14                 These contemporaneous documents render untenable Dell’s argument that it did not
15 discover, and could not have discovered, the alleged conspiracy until November 2007, when the

16 Department of Justice (DOJ) publicly announced an investigation. Dell seeks to minimize the

17 documentary record by arguing that, when its employees discussed a “cartel,” they did not mean to

18 refer to potential price fixing. See Dell Opp. at 13. This claim is foreclosed by the documents

19 themselves and contradicted by witness testimony.

20                 Dell also asserts that because Dell witnesses testified that they did not know of or

21 suspect any collusion or cartels, that Dell therefore cannot have been on constructive notice of the

22 facts giving rise to the claims it now asserts. Dell’s own business records –

23                                                                                       show clearly

24 that there were ample “red flags” that should have raised Dell’s suspicions and put Dell on

25 constructive notice. That some of these Dell employees now, years later,

26                                        is irrelevant to the inquiry of constructive notice. Finally,

27 Dell argues that Defendants fraudulently concealed the alleged conspiracy. But again the

28 documents show that Dell had actual and constructive knowledge of the alleged price-fixing
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 1 conspiracy. The evidence cited by Dell actually

 2

 3                                                               The Dell employees Dell claims were

 4 “diligently investigating” were not trying to ascertain the existence of potential collusion; rather,

 5 they clearly understood collusion to be a potential problem to Dell’s business and were trying to

 6 combat the problem or use that information to Dell’s advantage.

 7                   Sharp also asserts that it did not have any knowledge whatsoever regarding the

 8 alleged CRT conspiracy prior to the public announcement of the CRT investigation, Sharp points

 9 to no facts to support this position. The documents cited by the Defendants in the opening brief

10 establish Sharp’s corporate knowledge. That Sharp can point to certain employees who deny

11 knowledge does not rebut the documents. Sharp cannot create a genuine issue of material fact by

12 citing two witnesses who testified that they themselves had no knowledge — or, more accurately,

13 that they don’t recall having knowledge — when the documents stand as unrebutted evidence of

14 Sharp’s corporate knowledge of information sufficient to prompt the inquiry of a reasonable

15 person.

16                  Sharp’s other arguments should also be rejected. First, remarkably, Sharp refers to

17 a decision in the LCD case where Judge Illston denied summary judgment on statute-of-

18 limitations grounds when the evidence — as Sharp now characterizes it — was “minimal.” See

19 Sharp Opp. at 15-16. Sharp fails to mention that Sharp itself was one of the defendants that filed

20 that unsuccessful summary judgment motion. In that briefing, Sharp argued that “a grand total of

21 three Best Buy documents” was “unquestionably” sufficient to put one of Sharp’s now co-

22 plaintiffs, Best Buy, on notice of a “panel cartel.” Declaration of Claire Yan in Support of

23 Defendants’ Reply in Support of Joint Motion for Partial Summary Judgment Against Dell and

24 Sharp Plaintiffs on Statute of Limitations Grounds (“Yan Suppl. Decl.”) Ex. 3 (Defendants’ Reply

25 in Support of Joint Motion for Partial Summary Judgment Dismissing Best Buy’s (1) Pre-October

26 8, 2006 Claims as Time Barred and (2) Post-May 2003 Claims for Failure to Mitigate Damages, In

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                                             -2-                3:07-cv-05944-SC; MDL No. 1917
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 1 re TFT-LCD (Flat Panel) Antitrust Litig., No. 3:07-md-01827-SI (N.D. Cal. Sept. 14, 2012), ECF

 2 No. 6748) at 2-3 (signed by Sharp, represented by the same counsel as here).1

 3                 Second, Sharp’s emphasis that documents cited as evidence of its knowledge of the

 4 conspiracy were drafted by individuals from non-party Sharp Corporation, see Sharp Opp. at 2, 6,

 5 7, is irrelevant in light of the facts surrounding the documents cited as evidence of Sharp’s

 6 knowledge and witness testimony that Sharp Corporation was involved in the procurement of

 7 CRTs. In addition, this court has already found that the Sharp Plaintiffs’ claims in this case are

 8 based partly on its corporate relationship with Sharp Corporation.

 9                 Third, Sharp claims that its executives “testified unequivocally that they did not

10 suspect any unlawful concerted activity among defendants.” Sharp Opp. at 3. Regarding one of

11 the specific documents at issue, however, Sharp only offers the testimony of a single executive

12 who did not have a specific recollection regarding the language suggesting Sharp’s knowledge of

13 the alleged cartel.

14                 Fourth, Sharp takes yet another inconsistent position when it argues that CRT

15 supply information that it received from one of the defendants likely came from a public source.

16 See Sharp Opp. at 13-14. Sharp makes this argument while simultaneously including that

17 information as evidence of anticompetitive behavior in its discovery responses. See Defs. Mot. at

18 15-16. Sharp cannot be allowed to take such inconsistent positions; either the evidence indicates

19 Sharp’s knowledge of the conspiracy or it is public information which cannot be characterized as

20 allegedly anticompetitive competitor communication between defendants.

21                 In sum, Dell and Sharp cannot establish the requirements for tolling under a

22 fraudulent concealment theory and Defendants’ summary judgment motion should be granted.

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27   1
    For the avoidance of doubt, Plaintiff Sharp Electronics Corp. was one of the defendants who
28 moved for summary judgment. Id.
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 1 II.      ARGUMENT
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16                 Dell argues that its employees were merely investigating possible price fixing and
17 were not expressing beliefs that price fixing

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21        This is not mere “investigation,” as

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24                                               that demonstrates a belief that cartel conduct is

25 ongoing, not a mere suspicion to be investigated.

26                 Further, even if this Court were to credit Dell’s strained interpretation of the term

27 “cartel,”

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 2                                                     These documents are not “ambiguous” as Dell

 3 claims. Dell Opp. at 10, 14-16. These contemporaneous emails

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11          B.     Dell Had Sufficient Information To Be Put On Notice Of Its Claims
12                 As the documents show, Dell’s knowledge was not merely superficial.
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16                                                                   These communications clearly
17 indicate that Dell, at a minimum, was on constructive notice of its claims. For there to be

18 constructive knowledge, “[a]ny fact that should excite [a plaintiff’s] suspicion is the same as

19 actual knowledge of his entire claim.” Conmar Corp. vs. Mitsui & Co., 858 F.2d 499, 502 (9th

20 Cir. 1988). As Defendants’ moving papers show, there were ample “red flags” in the documents

21 that should have put Dell on notice of its claims. See Hexcel Corp. v. Ineos Polymers, Inc., 681

22 F.3d 1055, 1063 (9th Cir. 2012); GO Computer, Inc. v. Microsoft Corp., 508 F.3d 170, 172 (4th

23 Cir. 2007).

24

25

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27                                                         statement that a witness does not recall a

28 particular incident is not the same as a statement that it did not happen. Woodson v. Am. Med.
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 1 Ass'n, No. 97 C 2169, 1998 WL 778075, at *3 (N.D. Ill. Nov. 2, 1998). Courts routinely hold that

 2 a party’s lack of recollection cannot create a genuine issue of material fact in such circumstances.

 3 See, e.g., Brown v. St. Paul Travelers Companies, 331 Fed. Appx. 68, 70 (2nd Cir. 2009) (“We

 4 agree with the District Court that ‘[p]laintiff's statement, that she has no recollection or record of

 5 receiving the employee handbook and arbitration policy, despite the fact that it was distributed on

 6 at least six occasions during her employment, is ... not sufficient to raise a genuine issue of

 7 material fact.’”); Tinder v. Pinkerton Sec., 305 F.3d 728, 735–36 (7th Cir. 2002) (plaintiff's

 8 testimony that she “does not recall seeing or reviewing” a brochure “does not raise a genuine issue

 9 of material fact” in light of affidavits that the brochure was sent to her); Dickey v. Baptist Mem’l

10 Hosp., 146 F.3d 262, 266 n.1 (5th Cir. 1998) (“The mere fact that Dr. Washington does not

11 remember the alleged phone conversation, however, is not enough, by itself, to create a genuine

12 issue of material fact [as to whether it occurred.]”); Robnett v. Blodgett, No. 91-35397, 1992 WL

13 280980, at *2 (9th Cir. 1992) (“A current lack of recollection” does not create a genuine issue of

14 material fact, because “[a]bsence of proof is not proof of absence”).

15                    Dell does not and cannot dispute that these witnesses wrote and received these

16 contemporaneous emails and business documents documenting and discussing possible collusion

17 and cartel-like behavior. Nowhere in their opposition does Dell argue that the documents cited by

18 Defendants lack authenticity. That Dell’s witnesses cannot now, many years later, recall receiving

19 these clear “red flags” is of no relevance to Dell’s state of constructive knowledge at the time of

20 those emails and documents. See Hexcel, 681 F.3d at 1063-64 (holding that district court, on

21 summary judgment, did not err in rejecting declarations containing “general denials of Hexcel’s

22 knowledge of its claim”); Marks v. United States, 578 F.2d 261, 263 (9th Cir. 1978) (“Conclusory

23 allegations unsupported by factual data will not create a triable issue of fact” allowing a party to

24 survive a summary judgment motion); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986)

25 (“The mere existence of a scintilla of evidence in support of the plaintiff's position will be

26 insufficient.”).

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 1          C.      Evidence Does Not Indicate A Diligent Investigation By Dell As To The
                    Existence Of A Conspiracy
 2
                    Dell argues at length that Defendants sought to fraudulently conceal the alleged
 3
     conspiracy. But the documentary record of Dell’s knowledge demonstrates that Dell employees
 4
     were on notice of sufficient facts to support Dell’s claims. To establish fraudulent concealment,
 5
     the plaintiff must not only show facts that defendant affirmatively misled it, but also that “the
 6
     plaintiff had neither actual nor constructive knowledge of the facts giving rise to its claim despite
 7
     its diligence in trying to uncover those facts.” Hexcel, 681 F.3d at 1060. The “diligence” required
 8
     is an effort to uncover the facts behind plaintiff’s claims.
 9
                    Contrary to Dell’s assertion, the actual evidence cited by Dell and in Defendants’
10
     opening brief show that Dell employees clearly knew about and were very concerned with the
11
                                           Dell’s business.
12
                 These “investigation efforts” were not efforts to investigate whether a “cartel” existed,
13
     but rather efforts by Dell’s employees to counter the effects
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                    As noted in Defendants’ moving papers, what Dell characterizes as efforts to
17
     investigate the existence of a cartel was actually Dell employees using their understanding and
18
     knowledge of how they perceived the cartel to operate to Dell’s advantage, including trying to get
19
     lower prices for Dell.
20

21
                       These documents demonstrate that Dell was on sufficient notice of its claims to
22
     defeat any argument that the statute of limitations should be tolled based on alleged fraudulent
23
     concealment.
24
            D.      Sharp Takes The Position That “Three Pieces Of Paper” Is Insufficient To
25                  Establish Inquiry; Sharp Argued The Opposite In LCD
26                  In arguing that the amount of evidence presented by the Defendants is insufficient

27 to put Sharp on inquiry notice of the alleged CRT conspiracy, Sharp is taking a position directly

28 opposite to the one it took in LCD.
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 1                  In the Opposition, Sharp characterizes the “three pieces of paper” that Defendants

 2 cite as evidence as “scant,” “thin,” and “limited.” Sharp Opp. at 9, 15. In support, it cites to a

 3 decision in the LCD case where Sharp itself, among other defendants, moved for summary

 4 judgment on precisely the same grounds that the Defendants move here. See id. at 15-16. In the

 5 LCD case, the plaintiff was Sharp’s now co-plaintiff Best Buy. In its motion against Best Buy,

 6 Sharp argued that Best Buy had notice of the alleged LCD conspiracy three years before the LCD

 7 investigation became public based on “a grand total of three Best Buy documents” that refer to a

 8 “Panel Cartel.” Yan Suppl. Decl. Ex. 1 at 4-6. Sharp’s co-plaintiff, in that case, Best Buy, made

 9 the exact same argument in opposition that Sharp does here, claiming that a “single conclusory

10 ‘panel cartel’ comment does not come close to establishing that Best Buy had actual knowledge of

11 Defendants’ conspiracy.” Yan Suppl. Decl. Ex. 2 (Best Buy’s Opposition to Defendants’ Joint

12 Motion for Partial Summary Judgment Dismissing Best Buy’s (1) Pre-October 8, 2006 Claims as

13 Time Barred and (2) Post-May 2003 Claims for Failure to Mitigate Damages, In re TFT-LCD

14 (Flat Panel) Antitrust Litig., Case No. 3:07-md-01827-SI (N.D. Cal. Aug. 17, 2012), ECF No.

15 6497) at 12. In reply, Sharp argued that “[t]here is no volume or quantity requirement applicable

16 to the disclosure of information sufficient to put a plaintiff on notice of the existence of a claim.”

17 Yan Suppl. Decl. Ex. 3 at 2-3.

18                  Sharp cannot now assert that a small number of documents are insufficient to

19 warrant inquiry notice when it previously took the opposite position in LCD. Sharp should be

20 estopped from making this argument. See Baughman v. Walt Disney World Co., 685 F.3d 1131,

21 1133 (9th Cir. 2012) (finding that judicial estoppel prevents a party from changing its position in a

22 legal proceeding in order “to protect the integrity of the judicial process by ‘prohibiting parties

23 from deliberately changing positions according to the exigencies of the moment,’” citing New

24 Hampshire v. Maine, 532 U.S. 742, 749-50 (2001)).

25          E.      Sharp’s Assertion That Sharp Corporation Is A Separate, Non-Party Entity Is
                    Irrelevant Considering Sharp Had Actual And Constructive Notice Of The
26                  Alleged Conspiracy
27                   Sharp repeatedly argues that some of the evidence cited by the Defendants

28                                       and this somehow inoculates Sharp
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                                             This argument is irrelevant in the analysis of Sharp’s actual
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     and constructive knowledge of the facts underlying claims it now asserts.
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                     Additionally,
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18                   Finally, this Court has already found that “Sharp’s claims are based partly on its
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     corporate relationship with Sharp Corporation,” Dkt. No. 2435 at 8. In the order, this Court held
20
     that Sharp’s claims were subject to the forum selection clause contained in the Basic Transaction
21
     Agreement (the “BTA”), a contract governing transactions between Sharp Corporation and
22

23 Toshiba Corporation, because Sharp’s claims against the Toshiba Defendants were tied to Sharp

24 Corporation’s contractual relationship with Toshiba Corporation. See id. at 6-7 (“In this case,

25 because any relationship between the Sharp Plaintiffs and Toshiba took place ‘as part of the larger

26
     contractual relationship’ between the two parent companies, the BTA and its forum-selection
27
     clause should be read to apply to the subsidiaries.”).
28
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 1                  For these reasons, Sharp’s attempt to deny knowledge of the alleged conspiracy by

 2 distinguishing itself from Sharp Corporation fails.

 3
            F.      Sharp Has Refused To Provide A Key Witness Regarding Exhibit 3620
 4
                    Sharp argues that              did not place it on inquiry notice of a CRT
 5
     conspiracy. See Sharp Opp. at 11-12. Sharp is wrong; the documents cited by the Defendants’
 6
     establish Sharp’s corporate knowledge sufficient to arouse an inquiry in a reasonable person;
 7
     moreover, Sharp fails to mention that they have refused to produce for deposition a key witness.
 8

 9                  Sharp claims that the                                                            —

10 Toshihito Nakanishi —

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24                                                                      Because

25                                                               his remaining testimony as to how the

26 document was interpreted at Sharp, has no evidentiary value – it is merely speculative. See, e.g.,

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                                            -10-                3:07-cv-05944-SC; MDL No. 1917
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 1 St. Paul Travelers Companies, 331 Fed. Appx. at 70 (finding that a lack of recollection is not

 2 sufficient to raise a genuine issue of material fact.).

 3
                    Importantly
 4

 5

 6
                                                                                  , Sharp has refused to
 7

 8 produce                for deposition.

 9                                                                      And he will not be at trial.
10                  Sharp’s statement that Mr. Nakanishi is “the only witness with any knowledge of
11
     the document” simply ignores Mr. Harada — at the time the President of Plaintiff SEMA. That the
12
     president of SEMA (1) received information that two of its suppliers were possibly “conspiring,”
13
     and (2) SEMA took actions in response to this information, i.e., it decided to “concentrate
14

15 purchase orders” to a different supplier, evince facts that would “excite the inquiry of a reasonable

16 person.” Conmar Corp., 858 F.2d at 504.

17           G.     Exhibits 3621 And 3622 Show Sharp’s Constructive Knowledge Of Alleged
                    Conspiratorial Behavior
18
                    Sharp argues that                           did not put them on notice of the alleged
19
     conspiracy because
20

21                                                           . See Sharp Opp. at 7-8, 13-14. Sharp’s

22 assertion fails on both fronts.

23                  As to Sharp’s assertion that                                           , constructive
24
     knowledge can be attributed to Sharp based on several evidentiary factors. First,
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 8                  Second,

 9                                            See Defs. Mot. at 15-16. Sharp has repeatedly asserted in
10 this litigation that Sharp in NAFTA is SEC and SEMA.

11
                    Finally, Sharp is the “wholly owned U.S. sales and marketing subsidiary of Osaka-
12
     based Sharp Corporation.” Sharp Second Amended Complaint ¶ 20, whose claims in this case
13
     have been found to be based “partly on its corporate relationship with Sharp Corporation.” Dkt.
14

15 No. 2435 at 8.

16                  Based on these factors, the only reasonable inference is that Sharp had constructive

17 knowledge of the U.S.-related information contained in Exhibits 3621 and 3622. See Caliber One

18 Indem. Co. v. Wade Cook Fin. Corp., 491 F.3d 1079, 1085 (9th Cir. 2007) (holding that

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     “[s]ummary judgment is appropriate where . . . the undisputed evidence supports only one
20
     reasonable inference”) (citation omitted); Braxton–Secret v. A.H. Robins Co., 769 F.2d 528, 531
21
     (9th Cir. 1985) (holding that when the “palpable facts are substantially undisputed” as to “whether
22

23 a party knew or should have known of a particular condition,” that “such issues can become

24 questions of law which may be properly decided by summary judgment.”) (citations omitted).

25                  Remarkably, Sharp also denies that                          put it on inquiry notice
26
     because
27

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 1

 2 Sharp Opp. at 13 (emphasis added). Displaying additional duplicity, Sharp has characterized the

 3
     very same information as a
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 5
                                Defs. Mot. at 15. Again, Sharp cannot have it both ways. Either it
 6
     must concede that the information in these documents is public and thus not evidence of
 7

 8 competitor communications, or Sharp’s possession of this information puts it on notice that

 9

10                  Sharp’s claim that the SDI document containing substantially similar information
11
     as Exhibits 3621 and 3622 is “direct evidence of conspiratorial activity” (Sharp Opp. at 14)
12
     directly contradicts Sharp’s position on the document. Even if the SDI document includes
13
     “Matsushita” as its source, based on Sharp’s assertion that
14

15                                                  , any exchange of such information between any

16 CRT supplier would be an exchange of publicly available information, not “direct evidence of

17 conspiratorial conduct.” See, e.g., Maple Flooring Mfrs.’ Ass’n v. United States, 268 U.S. 563,

18 582-83 (1925) (stating that information exchanges among competitors can be beneficial when they

19
     permit companies to “avoid the waste which inevitably attends the unintelligent conduct of
20
     economic enterprise” and that “[c]ompetition does not become less free merely because the
21
     conduct of commercial operations becomes more intelligent through the free distribution of
22

23 knowledge of all the essential factors entering into the commercial transaction.”).

24 III.     CONCLUSION
25                  For all of these reasons, and those set forth in Defendants’ moving brief,

26 Defendants respectfully request that the Court grant Defendants’ motion and award partial

27 summary judgment in favor of the Defendants as to Dell’s and Sharp’s Sherman Act claims

28 relating to conduct before November 2003.
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